Case 2:03-cr-20466-SHI\/| Document 121 Filed 06/06/05 Page 1 of 2 Page|D 129

IN THE UNITED sTATEs DISTRICT COURT “ “ ~~~~~ UU~
FoR THE wEsTERN DISTRICT oF TENNESSEE
wEsTERN DIvIsIoN

UNITED STATES OF AMERICA,
Plaintiff,
CR. NO. O3~20466~Ol-Ma

VS.

RODOLFO M. BELTRAN,

Defendant.

 

ORDER ON CHANGE OF PLEA

 

This Cause Came on to be heard on May 25, 2005, the United
States Attorney for this district appearing for the Government and
the defendant, Rodolfo M. Beltran, appearing in person and With
retained counsel, Mr. Carlos Perez Olivo.

With leave of the Court, the defendant entered a plea of
guilty to Counts l and 2 of the Indictment. Plea colloquy was held
and the Court accepted the guilty plea.

Sentencing in this matter is set for Friday, September 2, 2005
at 9:00 a.m.

The defendant is remanded to the custody of the United States
Marshal.

3d

day of June, 2005.

SAMUEL H. MAYS, JR.
UNITED S'I‘ATES DISTRICT JUDGE

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This notice confirms a copy of the document docketed as number 121 in
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Honorable Samuel Mays
US DISTRICT COURT

